Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

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United States District Court, W.D. Virginia,
Lynchburg Division.

Frankie L. SMITH Sr., Plaintiff,
Vv.
UNITED STATES, Defendant.

Case No. 6:23-cv-00078
|
Signed September 17, 2024

Attorneys and Law Firms
Frankie L. Smith Sr., Lynchburg, VA, Pro Se.

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Swartz, DOJ-United States Attorneys Office, Roanoke, VA,
for Defendant.

MEMORANDUM OPINION & ORDER

NORMAN K. MOON,
DISTRICT JUDGE

SENIOR UNITED STATES

*1 Pending before the Court is Defendant United States’
motion to dismiss. Dkt. 16. Defendant argues that the
amended complaint brought by Plaintiff Frankie L. Smith
St. should be dismissed based on a lack of subject matter
jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1), as well as
a failure to state a claim upon which relief can be granted
under Rule 12(b)(6). 7a. Plaintiff has also filed a motion for
summary judgment. Dkt. 29. These motions are fully briefed

and ripe for the Court's review. |

For the reasons discussed below, the Court will grant in part
and deny in part the motion to dismiss. Because the Court
finds Plaintiffs motion for summary judgment, Dkt. 29, to be
premature at this stage in the case, the Court will deny this
motion.

I. BACKGROUND

The facts alleged in Plaintiff's amended complaint” are
accepted as true for the purposes of considering a motion to
dismiss.

Plaintiff is a Lynchburg resident and veteran who has received
healthcare services from the U.S. Department of Veterans
Affairs (“VA”) over the years at the Salem Veterans Affairs
Medical Center (“Salem VAMC”) and its related facilities.

In April 2020, Plaintiff visited the Lynchburg General
Hospital Emergency Room and was diagnosed with acute

kidney injury (“AKI”). Dkt. 6 (Am. Compl.”) § 13.° He
alleges that his kidney function was declining before his
formal diagnosis and that his health care providers at the
VA failed to diagnose or otherwise act appropriately in
response to information indicating potential kidney problems.
More specifically, he alleges that urine tests in February
2016, March 2019, and June 2019 indicated the presence of
kidney issues. /e. JJ 8, 11-12. However, his providers did not
diagnose his kidney condition, inform him of test results, or
otherwise address his potential problems. /d. J 8, 11-12.

Plaintiff also alleges that in the years leading up to and
following his April 2020 diagnosis, he was prescribed certain
medications that may have worsened the condition of his
kidneys and VA personnel failed to take him off such
medications despite the potential presence of kidney damage.
Id. J] 8, 10.

In the aftermath of his AKI diagnosis, Plaintiff alleges that
the Defendant “did not record the diagnosis in [his] chart,”
nor “discuss the diagnosis with him.” /d. J 13. He states that
Defendant later diagnosed him in July 2020 with “minimal
chronic medical renal disease.” /d. 414. (Plaintiffs complaint
also alleges that urine tests conducted by the Defendant after
June did not detect concerning levels of protein in his urine
until a test indicated an abnormal amount on August 14,
2023. Id. J 13. Plaintiff alleges that he also saw an outside
provider for urine tests in April and August 2023 and these
tests also indicated protein in his urine. 7/4. J 15. Plaintiff
seems to suggest that the Defendant's tests were inaccurate.
Id. | 15. However, Plaintiff's concerns about the more recent
urine testing did not arise until after he filed an administrative
complaint with the VA.)

*2 Plaintiff currently suffers from diabetes, high blood
pressure, and chronic kidney disease. /d. at 4. He contends
that his medical care providers misdiagnosed him with
a variety of other conditions over the years, including

Page 1 of 16
Smith v. United States, Slip Copy (2024)
2024 WL 4218850

HIV in 2017; cervical spondylosis with radiculopathy in
2018; circadian rhythm disorder in 2018; benign paroxysmal
positional vertigo or nystagmus in 2020; and chronic kidney
disease mineral and bone disorder in 2021. /d. at 4-5, He also
alleges that the VA has failed to maintain accurate records
of Plaintiff's medications and health conditions at different
points going back to 2013. /d. J 6-8, 12-13.

On April 4, 2022, Plaintiff filed a personal injury claim

with the VA by completing a Standard Form 95 (“SF-95").4
Plaintiff sought $500,000 in damages for personal injury —
specifically, his AKI — resulting from the purported failure
of medical professionals to diagnose the declining condition
of his kidneys in the years leading up to a diagnosis that he
received during a visit to the Lynchburg General Hospital in
April 2020. Dkt. 17 (Ex. | at 1). Plaintiffs description of the
basis of the claim also referred to “three or four incorrect
entries” in his health records, but he did not provide specific
details about these alleged errors. Dkt. 17 (Ex. | at 1).

*3 On August 8, 2022, the VA's Office of General
Counsel issued a letter addressed to Plaintiff stating that
it had “investigated the facts and circumstances” of his
administrative tort claim related to his kidney disease and that
its investigation included a review of the claim by a “board-
certified primary care physician.” Dkt. 17 (Ex. 2 at 1). The
investigation “concluded there was no negligent or wrongful
act on the part of a VA employee acting within the scope of
employment that caused compensable harm.” Dkt. 17 (Ex. 2
at 1). Accordingly, the VA denied the claim.

Plaintiff subsequently submitted an appeal letter to the
VA, dated January 22, 2023, Dkt. 17 (Ex. 3), and an
accompanying addendum, dated February 6, 2023. Dkt. 23
(Ex. 5). These documents provided additional details about
Plaintiff's allegations.

On June 28, 2023, the VA Office of General Counsel once
again denied Plaintiff's claim after reconsidering it. Dkt. 1
at 3. “Our review revealed no evidence of any negligent or
wrongful act or omission on the part of a Department of
Veterans Affairs (VA) employee acting within the scope of
his or her employment that resulted in harm regarding the
diagnosis and treatment provided to you[r] kidney disease by
providers at the Salem VA Medical Center and its associated
VA Clinics,” the letter explained. /d. The letter advised
Plaintiff that further action in the form of a civil action against
the United States could be instituted under the Federal Tort
Claims Act (“FTCA”). /d. The letter indicated that if Plaintiff

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Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

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wanted to initiate a lawsuit, he would need to do so within
six months after the date on which a notice of administrative
denial of a tort claim is mailed. 7d. Thus, Plaintiff had six
months from June 28, 2023 to file a suit in federal district
court,

Before the FTCA's six-month window to bring a lawsuit
closed, Plaintiff timely filed a complaint against the United
States in this Court on December 13, 2023. Dkt. 1. Shortly
thereafter, he filed his amended complaint on December 19,

2023. Am. Compl.” (For simplicity, the Court will refer to
the amended complaint as the “complaint” throughout this
opinion.)

Plaintiff is a pro se litigant and the Court understands
its obligation to liberally construe his filings, see, e.g,
Beaudet vy. City of Hampton, 775 F.2d 1274, 1278 (4th Cir.
1985). Nevertheless, the Court notes at the outset that while
Plaintiff's complaint and subsequent filings are detailed, they
are hard to follow at times and plaintiff's legal theories are
difficult to discern.

Still, the Court has identified what appear to be Plaintiff's

claims.° The Defendant, in its memorandum supporting
its motion to dismiss, Dkt. 17 at 2-4, provides a helpful
classification of the Plaintiff's claims into seven categories.
Dkt. 6. Building on this categorization, the Court has
identified the following allegations in Plaintiffs complaint,
which he generally describes as a medical “malpractice,” Am.
Compl. at 4, lawsuit:

1) The failure of the Salem VAMC to diagnose a kidney
disorder when there were indications of protein in
Plaintiff's urine in February 2016 and March 2019. Am.
Compl. Jf 8, 11, and 12.

2) The failure of the Salem VAMC to inform Plaintiff of
protein in his urine in February 2016, March 2019, and
June 2019. fd. 49 8, 11-12.

*4 3) The failure of the Salem VAMC to take Plaintiff
off medications that may have damaged his kidneys
and worsened his declining kidney function in the years
preceding his diagnosis of acute kidney injury. /d. { 8.

4) Inaccurate testing by the Salem VAMC in July 2023 of
the protein levels in Plaintiff's urine. 7d. 7 15.

5) The failure of the Salem VAMC to maintain
accurate records of Plaintiffs medications, including

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Page 2 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

(a) the delayed recording of lisinopril, which was first
prescribed in August 2013 but not recorded on his
medication list until October 2016, Jd. J 6, and (b) a
failure to include medications on Plaintiff's medication
list that were prescribed in July 2015, including
metforniin, prednisone, flunisolide, and Claritin. Jd.

6) The failure of the Salem VAMC to conduct a second AIC
(blood sugar) test to double check the accuracy of an
AIC test in July 2015 that led to a diagnosis of diabetes.
Id. (7.

7) The failure of the Salem VAMC to maintain accurate
records of various conditions, including (a) the failure
to list hyperlipidemia on his “problems list” following a
February 2013 diagnosis, id. { 9, and (b) the failure to
record a diagnosis for acute kidney injury in Plaintiff's
chart after his April 2020 diagnosis. /a. 7 13. (The Court
will refer to these as Claims 7(a) and 7(b).)

8) The Salem VAMC prescribed Omeprazole in February
2021 to treat Plaintiffs indigestion, even though
Omeprazole was contraindicated for patients who have
a kidney disorder called interstitial nephritis. Jd. ¥ 10.

9) The Salem VAMC failed to perform a biopsy exam
in October 2013 that could have detected
parenchymal diseases. /d. § 14.

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10) The Salem VAMC misdiagnosed Plaintiff with various
conditions: (1) HIV, in December 2017; (2) cervical
spondylosis with radiculopathy, in February 2018; (3)
circadian rhythm disorder, in December 2018; (4) benign
paroxysmal positional vertigo or nystagmus, in April
2020; and (5) chronic kidney disease mineral and bone
disorder, in April 2021 J Id. at 4-5.

Plaintiffs complaint requests three forms of relief: (1)
a “maximum monetary award allowed in the amount of
$5,500,000.00 ... for malpractice;” (2) “100% disability the
injury of diabetes that was likely caused by the defendant”
and “100% disability for the injury of chronic kidney disease
caused by the negligence of the defendant;” and (3) “the
privilege of being enrolled in the Veteran's Choice Program
which will allow me to seek health care in the community of
my choice.” /d. at 4.

I. STANDARDS OF REVIEW

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*5 Defendant raises three grounds for its motion to dismiss:
first, a lack of subject matter jurisdiction under Fed. R. Civ. P.
{2(b)( 1); second, the two-year statute of limitations for FTCA
claims; and third, a failure to state a claim upon which relief
can be granted under Fed. R. Civ. P. 12(b)(6).

A. Rule 12(b)(1) Motion to Dismiss for Lack of Subject
Matter Jurisdiction

A motion to dismiss pursuant to Rule 12(b)(1) of the Federal
Rules of Civil Procedure tests a district court's subject
matter jurisdiction. When a party attacks the subject matter

jurisdiction of the court under Rule 12(b)(1), the court
generally must first determine that it has jurisdiction as a
threshold matter. Siochem Int'l Co. Lid. v. Malaysia Int'l
Shipping Corp. , 549 U.S. 422, 43 1-32 (2007) (citing Stee! Co
v Citizens for a Better Environment, 523 U.S. 83, 89 (1998)).

The Plaintiff, as the party asserting the court's jurisdiction,
bears the burden of proving subject matter jurisdiction on a
Rule 12(b\(1) motion. -ldams v. Bain, 697 F.2d 1213, 1219
(4th Cir, 1982). A trial court may consider evidence and
matters outside the complaint on a Rule 12(b)(1) motion
without converting the proceeding to one for summary
judgment. /d.

As discussed below, the Defendant's
arguments are grounded in

subject matter
the FTCA's
requirement that a claimant exhaust his administrative

jurisdiction

remedies before bringing a lawsuit against the United States.
More specifically, the claimant must first present the claim
to the appropriate federal agency and initiate litigation only
after the claim has been denied by the agency. See 28 U.S.C.
Section 2675(a). The mandate in 28 U.S.C. § 2675(a) that
claimants file an administrative claim “is jurisdictional and
may not be waived.” Kokotis v. U.S. Post, Serv., 223 F.3d 275,
278 (4th Cir. 2000) (quoting Henderson v. United States, 785
F.2d (21, 123 (4th Cir. 1986)); -limed v. United States. 30

F.3d 514, 516 (4th Cir, 1994).

B. Rule 12(b}{6) Motion to Dismiss for Failure to State a
Claim and Defendant's Statute of Limitations defense

A motion to dismiss pursuant to Fed. R. Civ. P. 12(b)
(G6) tests the legal sufficiency of a complaint to determine

whether a plaintiff has properly stated a claim. It does

not, however, “resolve contests surrounding the facts, the
merits of a claim, or the applicability of defenses.” Aying
vy. Rubenstein, 825 F.3d 206, 214 (4th Cir. 2016) (quoting
Edwards y. Citv of Goldsboro, 178 F.3d 231, 243 (4th Cir,

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Page 3 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

1999)}). To state a claim, “[flactual allegations must be enough
to raise a right to relief above the speculative level,” Bel/
Atl. Corp. ». Twombly, 550 U.S. 544, 555 (2007), accepting
all well pleaded factual allegations in the complaint as true
and taking all reasonable inference in the plaintiffs favor.
Chao v. Rivendell Woods, inc., 415 F.3d 342. 346 (4th Cir.
2005). A court need not accept as true “legal conclusions,
elements of a cause of action, ... bare assertions devoid
of further factual enhancement, ... unwarranted inferences,
unreasonable conclusions, or arguments.” Richardson yv.
Shapiro, 751 F. App’x 346, 348 (4th Cir. 2018) (quoting
Nemet Chevrolet, Lid. Cousumeraffairs.com, Inc. 591 F.3d
250, 255 (4th Cir. 2009) (internal quotation marks omitted)).
Courts are to construe the filings of pro se litigants liberally,
Haines v. Kerner, 404 U.S. 519, 520 (1970), and though a pro
se complaint may be inartfully pleaded, it “must be held to less
stringent standards than formal pleadings drafted by lawyers.”
King, 825 F.3d at 214. Nevertheless, a pro se complaint must
state a plausible claim to relief. See dsheroff v. [gbal, 556 U.S.
662, 679 (2009).

*@ The Defendant also raises a statute of limitations
argument against several of Plaintiffs claims. Dkt. 17, at 9-11.
A Rule [2(b)(6) motion generally “does not resolve contests
surrounding ... the applicability of defenses,” Fatvards v. Cin:
of Goldsboro, 178 F.3d 231, 243-44 (4th Cir. 1999) (quoting
Republican Party v. Martin, 980 F.2d 943, 952 (4th Cir.
1992}) and the assertion that a plaintiffs claim is time-barred
is an affirmative defense. However, the U.S. Court of Appeals
for the Fourth Circuit has noted that “in the relatively rare
circumstances where facts sufficient to rule on an affirmative
defense are alleged in the complaint, the defense may be
reached by a motion to dismiss filed under Rule 12(b)(6). This
principle only applies if all facts necessary to the affirmative
defense ‘clearly appear[ ] on the face of the complaint? ”
Goodman y. Praxair Inc., 494 F.3d 458, 464 (4th Cir. 2007)
(en banc) (quoting Richmond, Fredericksburg & Potontac
RR.» Forst, 4 F.3d 244, 250 (4th Cir. 1993)) (emphasis
in original); see also Dean v. Pilgrint's Pride Corp., 395
F.3d 471, 474 (4th Cir. 2005) (“The raising of the statute of
limitations as a bar to plaintiffs’ cause of action constitutes
an affirmative defense and may be raised by motion pursuant
to Fed. R. Civ. P. 12(b)(6), if the time bar is apparent on the
face of the complaint.”). For the sake of clarity, the Court will
separate its analysis of the statute of limitations issues from
the rest of its Rule 12(b)(6) analysis in Part ILI.

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Page 4 of 16

I. ANALYSIS

A. The Court lacks subject matter jurisdiction over claims
that Plaintiff failed to present to the VA during its review

of his administrative claim

Subject matter jurisdiction refers to whether a court has the
power to hear a particular claim. While the Federal Torts
Claim Act authorizes federal district courts to hear personal
injury claims against the United States, it also contains
provisions limiting what kinds of claims a court may hear.
As discussed below, the concept of administrative exhaustion
embedded in the FTCA curtails the range of claims that
Plaintiff may bring in this action.

Plaintiff sues the Defendant for damages for his personal
injuries under the limited waiver of sovereign immunity
embodied in the FTCA. The United States is immune from
suit except insofar as it consents to be sued. Any waiver of
sovereign immunity “will be strictly construed, in terms of its
scope, in favor of the sovereign.” Lane v. Pena, 518 U.S. 187,
192 (1996). Because the circumstances supporting a waiver of
sovereign immunity “must be scrupulously observed and not
expanded by the courts,” a claimant accordingly “must file an
FTCA action in careful compliance with its terms.” Kokoris
vy CAS. Post, Sery,, 223 F.3d 275, 278 (4th Cir, 2000).

“[A] tort claim against the United States ‘shall be forever
barred’ unless it is presented to the ‘appropriate Federal
agency within two years after such claim accrues’ and then
brought to federal court ‘within six months’ after the agency
acts on the claim.” United States v. Wong, 575 U.S. 402, 405
(2015) (quoting 28 U.S.C. § 2401(b)).

The FTCA also includes a requirement that a claimant exhaust
his administrative remedies before initiating litigation. More
specifically, the Act contains the following provision:

An action shall not be instituted upon a claim against
the United States for money damages for injury or loss
of property or personal injury or death caused by the
negligent or wrongful act or omission of any employee
of the Government while acting within the scope of his
office or employment, unless the claimant shall have first
presented the claim to the appropriate Federal agency and
his claim shall have been finally denied by the agency in
writing and sent by certified or registered mail.

28 U.S.C. § 2675(a). In describing the purpose of this

provision of the FTCA, the U.S. Supreme Court has explained

Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

that “Congress intended to require complete exhaustion
of Executive remedies before invocation of the judicial
process.” AfeNeil . United States, 508 U.S. 106, 112 (1993)
(emphasis added). Because the FTCA “bars claimants from
bringing suit in federal court until they have exhausted their
administrative remedies,” id at 113, a court must consider
whether a claimant first brought his claims through the
proper administrative process. When a plaintiff fails to file
a claim with the proper administrative agency, “dismissal is
mandatory.” Henderson v. U.S., 785 F.3d 121, 124 (4th Cir.
1986). Therefore, the Court will identify the claims Plaintiff
presented to the VA and those he did not.

*7 The Code of Federal Regulations provides that a claim is
presented to a federal agency when the agency receives “an
executed Standard Form 95 or other written notification of
an incident, accompanied by a claim for money damages ina
sum certain for injury to or loss of property, personal injury,
or death alleged to have occurred by reason of the incident.”
28 CPLR. § 14.2(a),

Here, Plaintiffsubmitted his SF-95 to the VA on April 4, 2022.
Dkt. 17 (Ex. | at 1). In his description of the basis of the claim,
Plaintiff wrote as follows:

Acute Kidney injury. I was prescribed Metformin and
linsinopril among other drugs, by my providers at the

Lynchburg CBOC.” I think I had began taking the
medicines around 2012. I was not informed of the decline
in my Kidney function until my GFR had reached the level
of S51. My kidney function seems to have been declining
over a period of years and T was not informed of my injury
until I visited the emergency room. My providers never
referred to my kidney injury by the title of AKI, but referred
to my injury as stage 3 kidney disease although I never
had stage | or stage 2 kidney disease. I have been trying
to get an understanding of my condition since the day
of my diagnosis 04/14/2020. Finally I decided to look at
my health records on myhealthyvet to find three or four
incorrect entries on my record.
Id. He attached to the SF-95 what appears to be discharge
instructions issued by the Lynchburg General Hospital's
Emergency Department for a visit on April 14, 2020, /d. at 3.
The document lists Plaintiff's “diagnosis” as “Acute kidney
injury; Hyperglycemia; Hypokalemia; Vertigo.” /d The
document further advised Plaintiff to “follow up with primary
care provider” within a week for “reevaluation and repeat
bloodwork.” /d. at 4. It included educational materials about
high blood sugar (hyperglycemia), hypokalemia (described

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as “low level of potassium in the blood”), and dizziness, /d.
at 4-8, as well as a note that Plaintiff had been prescribed a
medication called meclizine for dizziness. /d. at 9.

After the VA's Office of General Counsel denied Plaintiff's
claim, Dkt. 17 (Ex. 2 at 1), Plaintiff submitted a letter to the
VA, dated January 22, 2023, requesting “an appeal for the
denial of the claim[.]” Dkt. 17 (Ex. 3 at 1). This “appeal for
reconsideration” (which the Court will refer to as the “appeal
letter”), /d. at 2, offered more detailed allegations about the
circumstances surrounding his April 2020 diagnosis of AKI.
Plaintiff alleged that his providers “did not inform [him] of
[his] kidney function decline as the kidney function decline
was occurring over a long period of time as indicated by [his]
lab results.” /d. at 1. He alleged that his providers failed to

discuss effects that medications!” were having on his kidneys
and that following his April 2020 diagnosis, his providers
“never acknowledged the diagnosis” and “failed to offer me
any treatment for AKI.” /d. at |. Although a document entitled
“Discharge Instructions,” dated April 14, 2020, listed “[a]cute
kidney injury” in the “diagnosis,” /d. at 7, Plaintiff alleged
that the VA's records failed to include this diagnosis and that
his AKT “was left untreated” until it developed into stage 3
chronic kidney disease. /d. at L.

*8 Plaintiff also submitted an addendum to his appeal letter.
In this addendum, dated February 6, 2023, Plaintiff stated
that attached medical records indicated the presence of kidney
damage in March and June of 2019. Dkt. 23 (Ex. 5). “The
significance of these lab tests was never discussed with me
in anyway, by my providers,” Plaintiff wrote. Jd He also
enclosed a February 2010 lab result that he stated showed
normal kidney functions as well as normal A1C and glucose
levels. /d. He wrote that 2010 was “around the time” that his

providers started him on new medications. /d. tu

After reconsidering Plaintiffs claim, the VA Office of General
Counsel issued a denial letter on June 28, 2023. Dkt. 1 at 3.

The Defendant argues that Plaintiff failed to raise most of the
claims in his complaint in his prior administrative claim and
that the Court accordingly lacks the subject matter jurisdiction
to hear such claims. Dkt. 17 at 7. In response, Plaintiff
contends that the reason he did not include all his current
claims in the original administrative claim is that he was “not
aware of all of the evidence of malpractice that existed in
my health records when | filed my claim.” Dkt. 23, at 3.
But this does not exempt Plaintiff from the FTCA's express
statutory requirement that all claims be presented to the VA

Page 5 of 16
Smith v. United States, Slip Copy (2024)
2024 WL 4218850

before initiating a FTCA lawsuit in this Court. 28 U.S.C.
§ 2675(a). Moreover, Plaintiff has also not asserted that he
lacked access to relevant records or was otherwise prevented
from presenting the allegations through the administrative
claim process (except Claim 4 involving a matter that arose
after Plaintiff filed the administrative claim in April 2022) to
the VA.

Moreover, as Defendant notes in its reply, Dkt. 24 at 2,
it appears that Plaintiff may have conflated evidence of
malpractice with actual claims of malpractice in his “Motion
to Deny Motion to Dismiss” and supporting memorandum.
Dkts. 22-23. Even if Plaintiff compiled medical records
and submitted those to the VA with his SF-95 and appeal
materials, he would still need to allege a breach of a standard
of care in order to assert a medical malpractice claim. See
Bitar v. Rahman, 272 Va. 130, 137-38 (2006) (describing
elements of a medical malpractice claim under Virginia law).
Evidence such as medical records can certainly support a
medical malpractice claim, but such material, by itself, is not
a claim. Indeed, the purpose of the FTCA's requirement for
the presentation of a claim to a federal agency is to provide
the government with an opportunity to “investigate, evaluate
and consider settlement of a claim.” Davis y C'S... No. 7:10-
CV-00005, 2010 WL. 275432 E. at *3 (WD. Va. July (2, 2010)
(quoting Keene Corp. v. United States, 700 F.2d 836, 842
(2d Cir. 1983)). The FTCA does not, however, “require an
agency to ‘undertake an independent search for injuries or
theories of liability that are not closely related to the matters
described in the claim,
is filed pursuant to 28 U.S.C. § 2675(a) put the government
“on notice of all the facts contained in voluminous records

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nor does the mere fact that a claim

presented by a claimant, if the claimant has not pointed to
specific sources of injury.” Venahan vo United States, No.
7:16-CV-00042, 2016 WL 4540882, at *4 (W.D. Va. Aug.
30, 2016) (quoting Burchfield v. United States, 168 F.3d
1252, 1256-57 (11th Cir. 1999)). An administrative claim
“must do more than cause ‘the government to sift through
the record.’ ” Henahan, 2016 WL4540882, at *4 (quoting
Richland-Lexington Airport Dist, v. Atlas Props., Inc., 854 F.
Supp. 400, 412 (D.S.C. 1994)).

*9 Based on these legal principles and the Court's review
of Plaintiffs SF-95 and related documents (including the
appeal letter, dated January 22, 2023, and the addendum
to the appeal, dated February 6, 2023), the Court finds
that Plaintiff failed to raise Claims 4 through Claim 7(a),
and Claims 8 through 10 in his administrative claim. The
Court accordingly lacks subject matter jurisdiction to hear

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Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

such claims. However, as discussed in the second part of
the analysis to follow, Claims | through 3 and 7(b) were
sufficiently raised in the administrative claim process such
that the Court may hear them in the instant case.

1. Claims that Plaintiff failed to present to the VA
and are barred by the FTCA's administrative exhaustion
requirement (Claims 4 through 7(a) and Claims 8 through
70)

In Claim 4, Plaintiff alleges inaccurate testing by the Salem
VAMC in July 2023 of protein levels in Plaintiffs urine. Am.
Compl. J 15. However, this purported malpractice occurred
after Plaintiff filed his SF-95 in April 2022 and was not
presented to the VA. Therefore, the Court lacks subject matter
jurisdiction to hear the claim.

In Claim §, Plaintiff alleges that the Salem VAMC failed to
maintain accurate records of Plaintiff's medications, including
(a) the delayed recording of lisinopril, which was first
prescribed in August 2013 but not recorded on his medication
list until October 2016, id 7 6, and (b) a failure to include
medications on Plaintiff's medication list that were prescribed
in July 2015, including metformin, prednisone, flunisolide,
and Claritin. fd. 7. While Plaintiff's SF-95 refers to “three
or four incorrect entries” in his medical record, he failed to
provide details to the VA about these purported inaccuracies.
Dkt. 17 (Ex. | at 1). Neither the appeal letter, Dkt. 17 (Ex. 3
at 1), nor addendum to the appeal, Dkt. 23 (Ex. 5 at 1) address
a failure to properly document Plaintiff's medications. Thus,
the VA lacked notice of this claim and the Court does not have
subject matter jurisdiction to hear these claims in the present
case.

Similarly, Claim_7 alleges a failure of the Salem VAMC to
maintain accurate records of the Plaintiff's various conditions,
including (a) the failure to list hypertipidemia on his
“problems list” following a February 2013 diagnosis, Am.
Compl. f 9, and (b) the failure to record a diagnosis
for acute kidney injury in Plaintiffs chart after his April
2020 diagnosis, /d {| 13. The purported failure to list
hyperlipidemia in Claim 7(a) was not presented to the VA
and must be dismissed on administrative exhaustion grounds.
However, as discussed below, Plaintiff did include relevant
allegations regarding Claim 7(b) to the VA in his request for
reconsideration, Dkt. 17, Ex. 3, at 1, and this claim can be
raised in the present case.

Claim 6 alleges that the Salem VAMC should have conducted
a second blood sugar test to ensure the accuracy of an initial

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Page 6 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

test in July 2015 that led to a diagnosis of diabetes. Am.
Compl. § 7 This claim was not raised in the SF-95 or related
materials presented to the VA. Because this claim was not
submitted to the agency's administrative claim process, this
Court also cannot consider it.

medication called Omeprazole in February 2021 to treat
indigestion, despite this medication being contraindicated for
patients with a kidney disorder called interstitial nephritis.
fd. ¥ 10. This issue — which post-dates the Plaintiff's 2020
diagnosis of acute kidney injury — was not raised in Plaintiffs
administrative tort claim. While the administrative claim
largely focused on a failure to diagnose and inform Plaintiff of
declining kidney functions prior to his April 2020 diagnosis, it
appears that Plaintiff alleged in the SF-95 and the appeal letter
that certain medications may have worsened the condition
of his kidneys and that health care providers at the Salem
VAMC should have alerted him to the medications’ dangerous
effects. Dkt. 17 (Ex. 1 at 1; Ex. 3 at 1). Plaintiff impliedly
made this argument in the SF-95, Dkt. 17 (Ex. | at 1),
and expressly elaborated on it in his appeal letter, where he
asserted that his providers “did not inform [him] of [his]
kidney function decline as the kidney function decline was
occurring over a long period of time as indicated by [his]
lab results.” Dkt. 17 (Ex. 3 at 1). Still, Plaintiffs allegations
about medication were primarily related to the period prior
to his diagnosis of acute kidney injury in April 2020. In his
discussion of the period following his April 2020 diagnosis at
the Lynchburg General Hospital, he stated that “[a]ccording
to the medical literature, doctors were supposed to stop the
medication when kidney function decline was first indicated.”
/d. But Plaintiff did not specify what medication was at issue,
nor did he refer to a prescription that was issued in February
2021. Instead, it seems he was referring to medications he
was taking at the time of his diagnosis in April 2020 — and
these would not have included Omeprazole because it was
not prescribed until the following year. Am. Comp. 4 10
(stating plaintiff was mailed Omeprazole on February 21,
2021). Accordingly, the claim regarding Omeprazole was not
raised in the administrative claim process and cannot be raised
here.

*10 Claim 9 alleges that the Salem VAMC failed to perform
a biopsy exam in October 2013 that could have detected
renal parenchymal diseases. Am. Compl. J 14. However,
this failure to perform a particular exam was not presented
in the SF-95, Dkt. 17 (Ex. 1 at 1), and is outside of
the general scope of conduct alleged in the administration

claim. More specifically, a premise of the SF-95, appeal
letter, and addendum, Dkt. 17 (Exs. 1, 3); Dkt. 23 (Ex. 5),
is that personnel at Salem VAMC possessed information
about Plaintiffs declining kidney function and failed to act
appropriately in response to it. No such information could
have arisen from an exam that was never performed. Because
Plaintiff failed to raise this issue in his administrative claim,
the Court cannot consider it here.

Finally, the allegations of Claim 10 — that the Salem VAMC
misdiagnosed Plaintiff with a multitude of conditions, Am.
Compl. at 4-5 — were simply not raised in the SF-95 or
appeal documents. Dkt. 17 (Exs. 1, 3); Dt. 23 (Ex. 5).
There are no allegations in the materials presented to the VA
that allege misdiagnoses of HTV, cervical spondylosis with
radiculopathy, circadian rhythm disorder, benign paroxysmal
positional vertigo or nystagmus, or chronic kidney disease
mineral and bone disorder.!? The Court may not hear these
claims as part of the Plaintiff's complaint because he failed to
present them to the VA.

Plaintiff has asserted several claims against the Defendant
in this case for the first time. However, in a FTCA case
such as this one, 28 U.S.C. § 2675(a) requires a plaintiff
to initially raise his claims to the relevant federal agency
before proceeding with a lawsuit in federal court. See MeNeil
y United States, 508 U.S. 106, 112 (1995) (explaining the
FTCA's administrative exhaustion requirement). Because 28
U.S.C. § 2675(a)’s mandate that a Plaintiff exhaust his
administrative remedies “is jurisdictional and may not be
waived,” Aokotis v. US. Post. Serv, 223 F.3d 275, 278 (4th
Cir. 2000) (quoting Henderson vo United States, 785 F.2d
121, 123 (4th Cir, 1986)), a federal district court cannot hear
claims that fail to conform to this requirement. Here, Plaintiff
failed to present Claims 4 through 6, Claim 7(a), and Claims
8 through 10 to the VA as part of his administrative claim
and subsequent request for reconsideration by the agency. The
Court accordingly lacks subject matter jurisdiction to hear
them. Pursuant to Fed. R. Civ. P. 12(b){1), the Court grants

Defendant's Motion to Dismiss with respect to these claims. 7

2. Claims that Plaintiff presented to the VA (Claims I
through 3 and Claim 7(b))

Based on a review of Plaintiffs SF-95 and other materials
Plaintiff submitted to the VA for its consideration — including
the appeal letter and the addendum — the Court finds
that Plaintiff did comply with the FTCA's administrative

Page 7 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

exhaustion requirements with respect to Claims | through 3,
as well as Claim 7(b).

*11 As noted earlier, the central claim of the SF-95, dated
April 4, 2022, is that the Salem VAMC failed to diagnose
and inform Plaintiff of the decline in his kidney function
in the years before he visited an emergency room in April
2020 and was formally diagnosed with AKI. This argument
is expressly made in the SF-95, as well as the appeal letter
and addendum to that letter. Dkt. 17 (Exs. 1, 3); Dkt. 23
(Ex. 5). Relatedly, Plaintiff seems to have suggested in his
SF-95 that medications he was prescribed by VA providers
contributed to declining kidney functions, Dkt. 17 (Ex. 1 at
1). His appeal letter clarified this argument and made it more
explicit when he alleged that his providers “never discussed
with [him] the effects that the medications were having on
[his] kidney function.” Dkt. 17 (Ex. 3 at 1).

The Defendant concedes that Claims 1 and 2 — regarding
purported failures to inform Plaintiff about his kidney
function and disease — were “sufficiently presented in the
SF-95.” Dkt. 17 at 8. Based on the crux of the allegations

raised in Plaintiff's administrative claim, the Court concurs. =

The Court also finds that Claim 3 — alleging that the
Salem VAMC failed to take Plaintiff off medications that
may have damaged his kidneys and worsened his declining
kidney function in the years preceding his diagnosis of acute
kidney injury, Am. Compl. 8 — was presented in Plaintiffs
administrative claim. As noted above, Plaintiff alluded to this
claim in his SF-95 and more clearly articulated this claim
to the VA in his appeal letter. In the letter, the plaintiff
asserted that VA healthcare providers never discussed with
him the effects of the medications on kidney functions and
that his providers “should have alerted [him] that taking the
medications could contribute to possible permanent damage
to [his] kidneys.” Dkt. 17 (Ex. 3). Thus, he presented a claim
to the VA about the possible side effects of his medications
and can pursue such a claim in this Court.

Finally, the Court finds that Plaintiff presented Claim 7(b)
to the VA during its review of his administrative claim.
This claim alleges that the Salem VAMC failed to record
a diagnosis for AKT in Plaintiffs chart after his April 2020
diagnosis. Am. Compl. { 13. Although Plaintiffs original
SF-95 vaguely referred to “three or four incorrect entries”
in his medical record, Dkt. 17 (Ex. | at 1), he specifically
alleged in the appeal letter that his providers at the VA “failed
to record the diagnosis” of his acute kidney injury in his

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Page 8 of 16

medical records. Dkt. 17 (Ex. 3 at 1). More specifically,
during a visit to the Lynchburg General Hospital on April
14, 2020, Plaintiff received a diagnosis of acute kidney
injury and this was documented on his discharge instructions
from the hospital. /d. In his appeal letter, Plaintiff alleged
the Defendant subsequently failed to note this diagnosis
in Plaintiffs VA medical records and his condition went
untreated. 7d Therefore, this claim was also sufficiently
presented to the VA and can be raised in this litigation.

*12 In sum, the Plaintiff exhausted his administrative
remedies with respect to Claims 1 through 3 and Claim
7(b). Because the VA issued a final decision denying the
administrative claim after its reconsideration, Dkt. | at 3,
Plaintitfacted within his rights under the FTCA to bring these
claims as part of his complaint in the present case. See 28
ULS.C. § 2675(a); 28 CFR. § 14.2(a). Consistent with its
subject matter jurisdiction, the Court may hear these claims.

B. The FTC A's two-year statute of limitations bars Claim
2
The Defendant argues that the FTCA's two-year statute of

limitations bars Plaintiff from bringing Claim 2, which
alleges that the Salem VAMC failed to inform Plaintiff of
protein in his urine in February 2016, March 2019, and June

2019.'° Am. Compl. $9 8, 11-12.

Under federal law, a tort claim against the United States is
“forever barred” unless it is first presented to a federal agency
in writing “within two years after such claim accrues.” 28
U.S.C. § 2401(b).

As the Fourth Circuit has explained, under § 2401(b), the
statute of limitations for a claim accrues “when the plaintiff
knows ot, in the exercise of due diligence, should have known
both the existence and the cause of his injury.” Gould v.
US. Dept. of Health & Human Services, 905 F.2d 738, 742
(4th Cir, 1990) (citing United States v. Kubrick, 444 US.
111 (1979)). “Actual knowledge of negligent treatment is not
necessary in order to trigger the running of the statute of
limitations; rather, once the claimant is ‘in possession of the
critical facts that he has been hurt and who has inflicted the
injury,’ the claimant has a duty to make diligent inquiry into
whether the injury resulted from a negligent act.” Mahn vy.
CLS, 313 Fed. Appx. 582. 585 (4th Cir. 2008) (unpublished)
(quoting KuArik, 444 US, at 122). “The burden is on plaintiffs
to show that due diligence was exercised and that critical

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Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

information, reasonable investigation notwithstanding, was
undiscoverable.” Gould, 905 F.2d at 745-46,

In the medical malpractice context, the Fourth Circuit has
explained that a claimant need not know the “precise medical
reason” for an injury for a claim to accrue. Kerstetrer v.
US., 57 F.3d 362, 364-65 (4th Cir. 1995). Instead, the statute
of limitations clock begins ticking when the knows — or
reasonably should have known — that some aspect of his
treatment caused an injury. /d. (“So long as the plaintiff knows
‘the critical fact’ of ‘who has inflicted the injury,’ he can act to
protect his rights by inquiring whether the injury was inflicted
negligently. If he comes to suspect that it was, then he can file
suit even before he discovers the precise medical cause of the
operation's failure. After all, it might not be until discovery
that he gains a satisfactory appreciation of the immediate
cause of his injury.”); see also Hahn vy, U.S., 313 Fed. Appx.
582, 585 (2008) (unpublished).

*13 Defendant argues in its motion to dismiss that Claim
2 should be barred as untimely because the purported injury
— a failure to provide urine test results — accrued on the
dates that such tests were conducted in February of 2016 and
March and June of 2019. Dkt. 17 at 9-10. More specifically,
Defendant asserts that “Smith's claim ... accrued on those
dates because he had to give urine for the urinalysis and
when he did not receive the test results back, his cause of
action accrued.” Jd. Therefore, the Defendant argues that the
statute of limitations ran on these claims in February 2018
and March and June of 2021. /d at 10. Plaintiff does not
seem to dispute this line of argument. Instead, he makes a
general argument that his claims are not time-barred because
(1) the VA did not deny his claim based on the expiration
of the statute of limitations period, Dkt. 22 at |, and (2) the
claims “are evidence of malpractice that has taken place over
the years of [his] medical care at the VA.” Dkt. 23 at 3. In its
reply, Defendant contends that Plaintiff has failed to explain
why any claim that accrued over two years before he filed his
administrative claim is not barred and rejects the argument
that the government is somehow barred from raising defenses
in this litigation that were not presented in the VA's prior
denials of the administrative claim. Dkt. 24 at 3.

The Court finds the Defendant persuasive on these points.
Even if Plaintiff has produced what he believes to be
evidence of medical malpractice, he is still obligated under
the statute to bring claims within two years of the purported
injury. 28 LLS.C. § 2401(b). Moreover, after the government
investigates and renders a decision on an administrative

Page 9 of 16

claim, it is not bound in subsequent litigation to only those
defenses raised in an agency's denial of a claim. There is no
language in the FTCA that precludes the government from
raising such defenses. See also Hazel v. United States, No,
1:23-ev-01272, 2023 WL 4488300, at *2 (D. D.C. June 6,
2023) (explaining that when a federal agency investigates a
claim under the FTCA, “it does not waive, and indeed retains,
all of its potential defenses, including that of sovereign
immunity.”). Here, the VA's Office of General Counsel

twice denied Plaintiff's administrative claim!® and both times
based its decision on what it concluded was an absence of
negligent or wrongful conduct on the part of a VA employee
acting within the scope of employment. Dkt. 17 (Ex. 2);
Dkt. 1 at 3. Although these letters did not cite the FTCA's
statute of limitations as a rationale for rejecting Plaintiffs
administrative claims, that omission does not prevent the
Defendant from arguing in the present case that Plaintiff's
claims are time-barred. Here, the asserted injury of not
receiving test results accrued when the Salem VAMC failed
to inform Plaintiff of what it detected in his urine in February
of 2016 and March and June of 2019. Because Plaintiff
presented his administrative claim to the VA in April of 2022
— over two years after this purported conduct — the claims
are time-barred under the FTCA. Accordingly, the Plaintiff
cannot bring Claim 2 as part of this case and the Court must
grant Defendant's motion to dismiss with respect to this claim.

C. Plaintiffs complaint states a claim with respect to

Claims Land 3, but not Claim 7(b)
The Federal Rules of Civil Procedure require a plaintiff to

include in his complaint “a short and plain statement of
the claim showing that the pleader is entitled to relief.”
Fed. R. Civ. P. 8(a}(2). As explained earlier, for a plaintiff
to successfully state a claim, the “[f]actual allegations
must be enough to raise a right to relief above the
speculative level.” Bell Ail Corp. vs Tivombly, 550 U.S.
544, $55 (2007). For the purposes of ruling on a Rule
12(b)(6) motion to dismiss, “a judge must accept as true
all of the factual allegations contained in the complaint,”
Erickson \ Pardus, 551 US. 89, 94 (2007). However, a
judge is not required to accept as true “legal conclusions,
elements of a cause of action, ... bare assertions devoid
of further factual enhancement, ... unwarranted inferences,
unreasonable conclusions, or arguments.” Richardson y.
Shapiro, 751 F. App'x 346, 348 (4th Cir, 2018) (quoting Nemes
Chevrolet, Lid. v. Consnmeraffairs.com, Inc., 391 F.3d 250,
255 (4th Cir, 2009) (internal quotation marks omitted)).
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

*14 Courts also have a duty to liberally construe pro se
pleadings. Still, “a plaintiff must provide enough detail to
illuminate the nature of the claim and allow defendants to
respond.” Chith v. Liberty University, No. 6:13-CV-00043.
2013 WL, 3877664, at *1 n.2 (WD. Va. July 25. 2013).
Indeed, “[a] complaint must contain either direct or inferential
allegations respecting all the material elements of some viable
legal theory to satisfy federal notice pleading requirements.”
Id. at *1. A district court is “not obliged to ferret through a
complaint, searching for viable claims.” /e/. at *1 n.2.

Defendant argues that Plaintiffs complaint should be
dismissed in its entirety because it fails to assert any claims
upon which relief can be granted. Dkt. 17 at 11. Moreover,
to the extent that Plaintiff has alleged medical malpractice by
the Salem VAMC, the Defendant argues that any such claims
should fail because plaintiff has not alleged the required

elements of a medical malpractice cause of action.!7 Jd. at
12-13.

The Plaintiff, for his part, argues that he properly stated a
claim for relief because he (1) “used the complaint form for
the PRO SE litigant” when he filed his complaint in this Court
and (2) the Defendant “gave [him] permission to seek relief
in federal court for my claim that [he] filed with the VA,
which was considered to be malpractice.” Dkt. 23 at 3. But,
as the Defendant correctly explains in its reply, Plaintiff was
still required to follow the Federal Rules of Civil Procedure
and the provisions of the FTCA when bringing his case in
this Court. Dkt. 24 at 4. Even if a plaintiff uses a pro se
district court form when filing a lawsuit, the plaintiff must still
follow Rule 8’s requirement that he include “a short and plain
statement of the claim showing that the pleader is entitled to
relief.” Fed. R. Civ. P. 8(a)(2); see also Warren vo Tri Tech
Laboratories, Inc., 993 F.Supp. 2d. 609, 613 n. 3 (W.D. Va.
2014) (explaining that while a court “must provide leeway to
a prose plaintiff, this ‘leeway must be tempered to require the
Plaintiff to comply with ... the pleading requirements of Rule
& ” (quoting Davis . Bacigalupi, 711 F.Supp.2d 609, 615
(E.D. Va, 2010))). Additionally, the agency’s letters rejecting
Plaintiffs administrative claim merely advised Plaintiff of
his right to initiate a lawsuit in federal court within six
months of the denial. Dkts. 17 (Ex. 2); Dkt.1 at 3. Such
notice of Plaintiff's rights under the FTCA did nor exempt
Plaintiff from the requirement that all parties must adhere to
the Federal Rules of Civil Procedure, including its pleading
requirements.

The Court construes Plaintiffs complaint as a medical
malpractice case because he has repeatedly characterized

his claims as such, and, more importantly, the substance
of his allegations seems consistent with the general claim
he makes throughout his filings that medical personnel
at the VAMC engaged in malpractice with respect to the
condition of his kidneys. See Caldwell ». US. Departmen
of Education, 816 Fed. Appx. 841, 842 (4th Cir. 2020) (per
curiam and unpublished) (explaining that the “substance”
of pro se pleadings, “rather than their labels,” should be
“determinative” in construing such pleadings).

*15 Under the FTCA, the Defendant can be liable for
personal injury claims, such as medical malpractice, “if a
private person, would be liable to the claimant in accordance
with the law of the place where the act or omission occurred.”
28 U.S.C. § 1346(b}(1). This is understood to mean that
state law is “the source of substantive liability under the
FICA.” EDLC Afever, 510 U.S. 471, 478 (1994); see also
Pledger vy. Ty'nch, 5 F.Ath S11, $22 (4th Cir, 2021). To bring
a medical malpractice claim under Virginia law, “a plaintiff
must establish (1) the standard of care; (2) breach of that
standard; and (3) that the breach was a proximate cause of
the injury.” Boden v. United States, No. 7:1 8-cv-00256, 2022
WL 843923, at #17 OW.D. Va. Mar. 21, 2022) (citing Bitar v.
Rahman, 272 Va, 130, 137-28 (2006)).

At this stage of the proceedings, the Court that Plaintiff has
sufficiently plead Claims 1 and 3 to state plausible medical
malpractice causes of action.

Claim | alleges that the Salem VAMC failed to diagnose
a kidney disorder when there were indications of protein
in Plaintiff's urine in February 2016 and March 2019, Am.
Compl. Jf 8, 11-12. The harm that Plaintiff alleges is that
his undiagnosed kidney condition developed into what was
later diagnosed as acute kidney injury and, eventually, chronic
kidney disease, which he asserts “could have been prevented
if [he] had received the proper health care.” /d at 4 and
{1 8, 11-13. He also alleges that he now has a lower life
expectancy because of his chronic kidney disease. Jd. at 4.
Although Plaintiff does not use formal legal terminology
such as a “standard of care,” he notes what seems to be
a purported standard in describing the February 2016 and
March 2019 urine tests. Je also alleges that the Defendant
failed to adhere to, or breached, such a standard. Regarding
the February 2016 urine test, Plaintiff asserts that Defendant
“was responsible for locating the cause of protein in my urine
and stopping the insult to my kidneys.” /d. J 8. With respect

Page 10 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

to the March 2019 test, Plaintiff asserts that Defendant was
“responsible to locate the cause of protein leaking into [his]
urine” and “responsible for mitigating the cause of protein
leaking into [his] urine.” /d@. J 11. lt can be reasonably inferred
from the complaint that Plaintiff alleges Defendant took no
steps to diagnose kidney issues in response to these urine
tests because Plaintiff contends that Defendant never alerted
him to his declining kidney functions. Liberally construed,
the complaint's statements regarding the urine tests could
be understood as alleging (1) that the relevant standard of
care is that a reasonably prudent health care provider would
investigate the source of protein detected in urine tests,
and (2) that Defendant's purported inaction breached this
standard. It is reasonable to infer that had Defendant taken
more responsive actions, such as determining the cause of
protein in Plaintiffs urine, it would have constituted the
“proper health care” that would have potentially prevented
Plaintiff's development of chronic kidney disease. Jd. at 4.
In sum, Plaintiff has alleged enough facts to state a medical
malpractice claim arising from Defendant's alleged inaction
regarding the urine tests.

The Court also finds that the Plaintiffs complaint states a
medical malpractice claim arising from the purported failure
of the Salem VAMC to take Plaintiff off medications that
may have damaged his kidneys and exacerbated his decline in
kidney functions in the years preceding his diagnosis of acute

kidney injury (what the Court earlier labeled as “Claim 32
Plaintiff appears to specifically allege that he developed
a kidney disorder called Interstitial Nephritis because the
Defendant failed to take him off certain medication after
protein was detected in his urine in 2016. /d. q 8. He alleges
that “Interstitial Nephritis is usually caused by the medication
that you take and stopping the medication usually solves
the problem.” /d He further writes that the Defendant “did
not appear to stop all of the medications.” /d As for the
relevant standard of care, Plaintiff contends that his health
care providers had an obligation to stop “the insult” to his
kidneys when protein was detected. /d. He goes on to recount
how he was not taken off medications, even though they
could have caused Interstitial Nephritis. /d@. Taken together,
his statements could reasonably be read as an argument
that Defendant should have directed Plaintiff to stop taking
medications known to cause Interstitial Nephritis. /d. In
describing other potential issues with medications, Plaintiff
later contends twice in the complaint that Defendant had
a responsibility to ensure that medications are not causing
“more harm than good.” /d J§ 9-10. Although Plaintiff
does not specifically discuss his “more harm than good”

standard with respect to medication that may have caused
his Interstitial Nepheitis, the concept of taking patients off
medications with harmful side effects is implied. Considering
all these aspects of the complaint and the Court's duty to
liberally construe pro se pleadings, the Court finds that
Plaintiff alleged a standard of care whereby a reasonably
prudent health care provider would have responded to
elevated protein levels in a patient's urine by directing him
to stop taking medications known to cause kidney disorders.
Plaintiff alleges that Defendant breached this standard when
it failed to take him off the medications. /d 4 8. This
breach, in turn, may have caused Interstitial Nephiritis and
contributed to further deterioration of his kidney functions
which were already declining based on the urine test results
from February 2016. /¢. Although Plaintiff's complaint is
difficult to understand at places, the Court finds that Plaintiff
asserted enough facts to raise the elements of a medical
malpractice claim with respect to the Defendant's purported
failure to take him off harmful medications that worsened his
kidney conditions.

*16 Nevertheless, the Court also concludes that Plaintiff
has failed to sufficiently plead Claim 7(b), regarding the
purported failure to record the diagnosis in his chart.
Plaintiff's complaint briefly describes how he was diagnosed
in April 2020 with acute kidney injury during an emergency
room visit to Lynchburg General Hospital. /d. 13. Although
he proceeds to allege that the Defendant neither recorded the
diagnosis in his medical chart, nor discussed the diagnosis
with him, the complaint makes no clear assertions about what
standard of care this breached, what injury Plaintiff suffered,
and how the Defendant's course of action proximately caused
this harm, In other words, the alleged facts are not sufficiently
tied to the elements of medical malpractice. Additional
allegations would be needed for the complaint to plausibly
state a medical malpractice claim arising from the Defendant's
actions (or lack thereof) following Plaintiffs April 2020

diagnosis.”” While federal courts must read pro se pleadings
liberally, they are not obligated “to conjure up questions never
squarely presented to them.” Becudett y Cit: of Hampton, 775
F.2d 1274, 1278 (4th Cir. 1985). The Court will not do so here.

To summarize, the Court finds that Claims | and 3 may move
forward at this time. Plaintiff has alleged enough to bring
these two claims of alleged medical malpractice. That said, it
remains to be seen whether Plaintiff would be able to prove his
allegations at trial. Indeed, medical malpractice cases often
require expert witnesses to prove the elements of a medical
malpractice claim. See Goulet. Hereford, No. 7:19-cv-0704,

Page 11 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

2022 WL 16936052, at *10 (W.D. Va. Nov. [4, 2022); Boden
ve United States, No, 7:18-cv-00256, 2022 WL 843923, at *17
(W.D. Va. Mar. 21, 2022), The Court will grant Defendant's
Motion to Dismiss as to Claim #7(b), but will otherwise deny
the motion as to to Claim #1 and to the extent that it applies
to Claim #3.

1V. REMEDIES

The Defendant argues in support of its motion to dismiss that
Plaintiff seeks improper remedies in his complaint. Dkt. 17
at 14.

Tn his complaint, Plaintiff requests the Court award $5.5
million in damages “for malpractice.” Am. Compl. at 4.
Plaintiff also requests “100% disability” for his diabetes and
chronic kidney disease, as well as “the privilege of being
enrolled in the Veteran's Choice Program which will allow
[him] to seek health care in the community of [his] choice.”
Id.

Defendant's argument is twofold.

First, Defendant argues that because this is a FTCA suit,
the Plaintiff can only recover damages originally sought
in his administrative claim. Defendant points to 28 U.S.C.
§ 2675(b), which provides that a FTCA complaint “shall
not be instituted for any sum in excess of the amount of
the claim presented to the federal agency, except where the
increased amount is based upon newly discovered evidence
not reasonably discoverable at the time of presenting the
claim to the federal agency, or upon allegation and proof
of intervening facts, relating to the amount of the claim.”
Because Plaintiff has failed to allege newly discovered
evidence that could not have been reasonably discoverable
at the time he presented his claims to the VA, Defendant
argues that he should be limited to the amount he sought
in his original claim to the VA. Dkt. 17 at 14. The SF-95
shows that Plaintiff alleged $500,000 as his total damages.
Dkt. 17 (Ex. 1). Therefore, Defendant contends that Plaintiffs
recovery is capped at $500,000. Dkt. 17 at 14. Plaintiff, for his
part, asserts that he has “new and previously undiscoverable
information” to justify his damages, Dkt. 23 at 3, although
Defendant notes that Plaintiff has not explained “how any of
that information was unavailable to him when he filed his
SF-95.” Dkt. 24 at 4.

*17 Second, Defendant argues that Plaintiff has improperly

sought injunctive or equitable relief in the form of disability
diagnoses and enrollment in the Veteran's Choice Program.
Defendant notes that a plaintiffs sole remedy under the
FTCA is to recover money damages. Dkt. 17 at 14 (citing
dalbert vy. U.S., 932 F.2d 1064, 1065-66 (4th Cir. 1991)),
Plaintiff has not engaged with this specific argument about
the unavailability of injunctive or equitable relief.

At this juncture, the Court need not dismiss portions of
the Plaintiff's requested relief as part of its consideration
of Defendant's Rule 12(b\(6) motion. See Seward vy.
Khofmuradoyv, No. 7:23-cv-220, 2023 WL 6811030, at *1
(W.D. Va, Oct. 16. 2023) (observing that “several judges
of this Court have recognized that Rule 12(b)(6) ‘does not
provide a vehicle to dismiss a portion of relief sought or a
specific remedy, but only to dismiss a claim in its entirety.’
") (quoting Faccheni v Fest, No. $:15-cv-49, 2016 WL
3920487, at *1 (W.D. Va. July 18, 2016)). Nevertheless, the
Court emphasizes that Plaintiff will only be able to obtain
relief for his FTCA claims that is authorized by the FTCA.
Notably, injunctive relief will be unavailable because the
statute only provides for money damages as a remedy.

V. SUMMARY JUDGMENT IS PREMATURE

Plaintiffs motion for summary judgment is also pending
before the Court. Dkt. 29. Plaintiff contends that the
Defendant has failed to dispute any of the evidence presented
in his filings thus far and that he should thus “prevail on all
of [his] claims and receive all requested relief.” Dkt. 29.

The Defendant raises a multitude of reasons why summary
judgment is inappropriate at this time. The Defendant notes
that its motion to dismiss was pending when Plaintiff filed
his motion for summary judgment and that Defendant has
not yet filed a responsive pleading. Dkt. 34 at 1. Moreover,
Defendant asserts that Plaintiff has not demonstrated the
absence of disputes of material fact, nor has he presented
expert testimony in support of his medical malpractice claims,
and the parties. /d. at 2-3. The parties have also not conducted
discovery. Dkt. 34, at 3.

The Court need not address every reason why summary
judgment is premature. It is sufficient to note that summary
judgment should generally be granted “after adequate time
for discovery.” Celofex Corp. v. Catrett, 477 US. 317, 322
(1986). As the Fourth Circuit has explained, “[s]ummary

Page 12 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25

Smith v. United States, Slip Copy (2024)
2024 WL 4218850 ,

judgment before discovery forces the non-moving party into
a fencing match without a sword or mask. For this reason,
when a party lacks material facts necessary to combat a
summary judgment motion, she may file an ‘affidavit or
declaration that, for specified reasons, [the party] cannot
present facts essential to justify its opposition.” ” AfcC'ray ».
Marvland Department of Transportation, Maryland Transit
Admin, 741 F.3d 480, 483 (4th Cir. 2014) (quoting Fed.
R. Civ. P. 56(d)). Here, the Defendant properly filed a
Rule 56(d1) Declaration with its “Response in Opposition
to Smith's Motion for Summary Judgment.” Dkt. 34. This
Declaration explains that facts necessary to its opposition to
the motion for summary judgment would include “written
evidence of Smith's complete medical records, including
that for any providers outside the VA medical system
and testimonial evidence of Smith as well as that of any
treating providers outside the VA medical system.” Je.
Additionally, the Defendant “needs discovery pertaining to
any expert evidence Smith seeks to use to support his medical
malpractice claims.” /d. Given the fact-intensive nature of
medical malpractice claims such as those Plaintiff alleges,
the Court agrees with Defendant that discovery needs to
occur before it will consider granting a motion for summary
judgment. Accordingly, the Court will deny Plaintiff's motion
for summary judgment.

CONCLUSION

*18 Plaintiff contends that
Salem VAMC personnel over the years contributed to his

medical malpractice by
development of various medical conditions, particularly
chronic kidney disease. However, key features of the FTCA —
including administrative exhaustion as a condition precedent
to litigation and the two-year statute of limitations — constrain

Footnotes

the Court's authority to hear all of Plaintiff's claims. The Court
finds that it lacks subject matter jurisdiction to hear Claims
4 through 7(a) and Claims 8 through 10 because Plaintiff
failed to present them to the VA as part of the administrative
claim process. Accordingly, the Court grants Defendant's
motion to dismiss with respect to these claims. The Court also
concludes that Claim 2 is time-barred under the FTCA's two-
year limitations period. Thus, the Court grants Defendant's
motion to dismiss as it applies to Claim 2. Finally, the Court
finds that Plaintiff failed to sufficiently state a cause of action
for Claim 7(b). Accordingly, the Court grants Defendant's
Motion to Dismiss with respect to Claim 7(b).

Nevertheless, for the purposes of deciding Defendant's
motion to dismiss in a manner consistent with the Court's duty
to liberally construe pro se pleadings, the Court finds that
Plaintiff has sufficiently alleged a medical malpractice cause
of action for Claims | and 3. The Court therefore denies the
motion to dismiss as applied to these claims.

HRB

For the reasons stated above, the Court will GRANT in part
Defendant's motion to dismiss, Dkt. 16, with respect to Claim
2 and Claims 4 through 10. However, it will DENY in part
the motion to dismiss with regard to Claims | and 3. It is also
ordered that Plaintiffs motion for summary Judgment, Dkt.
29, is DENTED.

It is so ORDERED.

All Citations

Slip Copy, 2024 WL 4218850

1 The Court has determined that the legal issues presented in the parties’ memoranda have been fully argued and that

oral argument would not aid the decisional process.

2 Plaintiff filed his initial complaint on December 13, 2023, Dkt. 1, and an amended complaint on December 19, 2023. Dkt.
6. As noted later, the Court will generally refer to the amended complaint as the “complaint” throughout this opinion.

3 The Court notes that Plaintiff made several filings which lack page, paragraph, or exhibit numbers. When such labels are
present, the Court will cite to those. Otherwise, the Plaintiff's page numbers are cited based on the identifications affixed

by the docketing system to the top of each page.

4 Plaintiff did not attach the SF-95 to either his original complaint, filed December 13, 2023, or his amended complaint, filed
December 19, 2023. He did, however, attach to his original Complaint a copy of a letter that the VA's Office of General
Counsel issued on June 28, 2023 indicating that the VA had denied his request for reconsideration of its initial denial of

Page 13 of 16
Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25 Page 14 of 16

Smith v. United States, Slip Copy (2024)
2024 WL 4218850

his administrative tort claim related to kidney disease. Dkt. 1 at 3. The Court considers this appeal request part of the
Plaintiffs pleadings under Federal Rule of Civil Procedure 10(c) (“A copy of a written instrument that is an exhibit to a
pleading is part of the pleading.”). The Defendant attached a copy of the SF-95 as an exhibit to its memorandum in support
of its motion to dismiss. Dkt. 17 (Ex. 1). It also attached the VA's initial decision denying Plaintiff's administrative tort claim,
dated August 8, 2022, Dkt. 17 (Ex. 2), as well as a copy of an appeal for the denial of the claim that Plaintiff submitted to
the VA, dated January 22, 2023. Dkt. 17 (Ex. 3). Plaintiff also attached an “addendum’ to his appeal, dated February 6,
2023, as an exhibit to his “Memorandum in Support of Motion to Deny Defendant's Motion to Dismiss.” Dkt. 23 (Ex. 5).

When ruling on a motion to dismiss, ‘it is well established that a document attached to a motion to dismiss may be
considered when evaluating a motion to dismiss if the document was ‘integral to the complaint and authentic.’ " Goines
v. Valley Community Services Bd., 822 F.3d 159, 164 (4th Cir. 2016) (quoting Sec'y of State for Defence v. Trimble
Nav. Ltd., 484 F.3d. 700, 705 (4th Cir. 2007)). A document is considered “integral to the complaint” when the complaint
“relies heavily upon its terms and effect.” Goines, 822 F.3d at 166 (quoting Chambers v. Time Warner, Inc., 282 F.3d
147, 153 (2d Cir. 2002)).

Here, documents that were part of the administrative claim are “integral” to Plaintiff's complaint. Plaintiff has not objected
to the Defendant's attachment of its exhibits to its memorandum in support of its motion to dismiss, nor has he contested
the authenticity of these documents. The Defendant has also not raised any issues regarding the documents Plaintiff
submitted that were from his administrative claim process — including the addendum to his appeal and the denial of his
appeal. Although Plaintiffs complaint and amended complaint did not expressly reference all of these various documents
— which relate to what he presented to the VA and how his claim moved through the agency review process ~ he relied
upon their effect because his lawsuit is predicated on the VA's denial of his claim. In sum, the Court will take the exhibits
and attachments regarding the administrative claim, the appeal, the addendum, and the agency's claim denial letters into
consideration in deciding the motion to dismiss because they are “integral” to the Plaintiff's complaint.

ey The primary difference between the original and amended complaints is that Plaintiff raised his requested “maximum
monetary award” from $2.5 million to $5.5 million. Compare Dkt. 1 at 7 and Dkt. 6 at 4. He did not otherwise substantially
alter the allegations in his “Statement of Claim.”

6 These claims are raised in the Plaintiff's Amended Complaint. The Court notes that Plaintiff's “Memorandum in Support of
Motion to Deny Defendant's Motion to Dismiss,” Dkt. 23, contains statements that could be construed as new allegations
against the Defendant. The Court emphasizes that such allegations are not considered part of Plaintiffs complaint just
because he raised them in a subsequent filing, such as a response to a motion to dismiss. New claims would need to
be brought through an amended complaint. See generally Fed. R. Civ. P. 15(a) (provisions regarding the amendment
of pleadings prior to trial).

7 The Defendant's motion to dismiss states that Plaintiff's purported misdiagnoses by the Salem VAMC include ADHD,
major depressive disorder, and delusional disorder in 2000. Dkt. 17 at 3. Plaintiff's complaint briefly discusses these
issues in relation to a visit with a psychiatrist in 2000 at Virginia Baptist Hospital. Am. Compl. at 5. He explains that “|
was never treated for any type of depression and | was never treated for any type of delusional disorder.” /d. However,
it does not appear that claims related to these purported misdiagnoses are alleged against the United States. Indeed,
in Plaintiffs “Memorandum in Support of Motion to Deny Defendant's Motion to Dismiss,” he admits that he “was not a
member of the VA health-care system in the year 2000” and that he started receiving healthcare services from the VA in
November 2008. Dkt. 23 at 5. Accordingly, the Court does not consider the purported misdiagnoses arising from Plaintiff's
visit with a psychiatrist in 2000 to be among Plaintiff's claims against the Defendant.

8 While the two-year state of limitations in the FTCA is not jurisdictional, see United States v. Wong, 575 U.S. 402, 405
(2015), the prevailing view is that 28 U.S.C. § 2675(a)'s administrative exhaustion requirement is jurisdictional in nature.
See Campos v. United States, 682 F.Supp. 3d. 541, 545 n.2 (W.D. Va. 2023); Rogers v. Chapman, No. 8:18-cv-03154,
2019 WL 3225750, at *4, n. 3 (D. Md. July 17, 2019) (collecting cases from different circuits); Wright v. United States,
No, 22-6358, 2023 WL 2010984, at *1 (4th Cir. Feb. 15, 2023) (per curiam and unpublished).

9 The Court understands to be a reference to the Lynchburg Community Based Outpatient Clinic (“CBOC’) associated
with the Salem VAMC.

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Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25 Page 15 of 16

Smith vy. United States, Slip Copy (2024)
2024 WL 4218850

10 It is somewhat unclear from the appeal letter and other documents submitted to the VA which medications Plaintiff
alleged caused his declining kidney functions. His initial description of the claim in his SF-95 refers to prescriptions
issued by providers at the Lynchburg CBOC. Plaintiff specifically names metformin and lisinopril, which the Court takes
judicial notice as drugs used to treat type 2 diabetes and high blood pressure, respectively. See Nat'l Library Med.,
Metformin, MedlinePlus, https://medlineplus.gov/druginfo/meds/a696005.html (last visited Sept. 12, 2024); Nat'l Library
Med., Lisinopril, MedlinePlus, https://medlineplus.gov/druginfo/meds/a692051 .html (last visited Sept. 12, 2024). He also
attached a document to the appeal letter what appears to be a medical record from the Lynchburg CBOC for a visit
on February 15, 2019 (he labels this “Section 1”). Dkt. 17 (Ex. 3, § 1). This record refers to a time in 2015 where
Plaintiff had “significantly increased A1C” (the Court takes judicial notice that "A1C" commonly refers to a measurement
of an individual's blood glucose or blood sugar levels, see Nat'l Library Med., A1C, MedlinePlus, https://medlineplus.gov/
aic.html (last visited Sept. 12, 2024)) and received his first prescription of metformin. The record then notes that in August
2018, Plaintiff “was told that his kidney function was too low for Metformin” and he switched to a different drug called
glipizide (the record does not specify who conveyed this information to Plaintiff). Dkt. 17 (Ex. 3, § 1). The Court takes
judicial notice that glipizide is a drug used to treat type 2 diabetes. See Nat'l Library Med., Glipizide, MedlinePlus, https://
medlineplus.gov/druginfo/meds/a684060.html (last visited Sept. 12, 2024). While taking glipizide, Plaintiff reportedly
developed an itch and rash and it went away after he stopped taking glipizide, according to the February 2019 medical
record. Dkt. 17 (Ex. 3, § 1).

11 Plaintiffs “Memorandum in Support of Motion to Deny Defendant's Motion to Dismiss” features an exhibit that includes
the addendum and what appears to be the referenced lab results from the Salem VA Medical Center with metrics from
2019 and 2010. Dkt. 23 (Ex. 5). However, the “lab results” include a notation indicating they were printed on September
7, 2023 — after the date of the February 6, 2023 addendum — so it is unclear to the Court if these were the same results
submitted to the VA on February 6, 2023. /d.

12 Plaintiff stated in the appeal letter that he attached “lab results for the days just prior to the diagnosis of chronic kidney
disease mineral and bone disorder dated 8/27/2021" and alleged that Plaintiff's providers “never discussed a diagnosis
of mineral and bone disease with [him] in any context.” Dkt. 17 (Ex. 3 at 1-2). Still, he did not allege that the Salem VAMC
misdiagnosed him with such a condition.

13 The Defendant argues in its Motion to Dismiss that even if Plaintiffs administrative claim could have been read to include
all of the allegations in his Complaint, the FTCA's two-year statute of limitations would bar several of the claims, including
those related to a failure to perform a biopsy in 2013 and various purported misdiagnoses. Dkt. 17 at 9-11. Because the
Court concludes that it lacks subject matter jurisdiction over what it labels Claims 4 through 6, Claim 7(a), and Claims 8
through 10, it declines to address statute of limitations arguments raised by the Defendant with respect to these claims.

14 The Court notes that it is unclear from the record whether Plaintiff presented specific allegations regarding a lab test
conducted on February 10, 2016 and related materials (such as notes and a letter from February 11, 2016) that Plaintiff
references in his complaint. Am. Compl. { 8. By contrast, the addendum to the appeal letter and the attached documents
indicate that the Plaintiff did present the March and June 2019 lab results to the VA as part of the administrative claim.
Dkt. 23 (Ex. 5). Nevertheless, the purported failure of the Defendant to inform Plaintiff of protein in his urine and possible
kidney damage after the February 2016 lab test falls under the broader claim that Plaintiff made in his SF-95, which is
that his kidney function was “declining over a period of years” and the Salem VAMC failed to keep him informed. Dkt.
17 (Ex. 1 at 1). The addendum also put the Defendant on notice of Plaintiff's allegation that measurements of kidney
function indicated a decline between 2010 and 2019. Dkt. 23 (Ex. 5). Accordingly, the Court finds that Claims 1 and 2
were presented to the VA during the administrative claim process.

15 The Court acknowledges that the Defendant may later argue that some of Plaintiff's other claims are barred by the
statute of limitations. The Defendant alleges in footnote 5 of its memorandum in support of its motion to dismiss that
dates contained in Plaintiffs complaint are inaccurate and that the Defendant “reserves those arguments for summary
judgment’ if the Court denies the motion to dismiss. Dkt. 17 at 9. For now, the Court only considers the Defendant's
statute of limitations argument regarding Claim 2 because it is the only claim of those Defendant challenges in its motion
as time-barred that the Court has subject matter jurisdiction to hear.

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Case 4:24-cv-00258-MTS Document 89-1 Filed in USDC ND/OK on 07/16/25 Page 16 of 16

Smith v. United States, Slip Copy (2024)
2024 WL 4218850 a oa oa eee

16 The VA Office of General Counsel issued a letter on August 8, 2022 that denied Plaintiff's administrative claim as raised
in his SF-95. Dkt. 17 (Ex. 2). Then, on June 28, 2023, the same office issued a second letter that also denying Plaintiffs
claim following its reconsideration of his claim. Dkt. 1 at 3.

17 As discussed later, Virginia substantive law provides the elements of a medical malpractice claim.

18 For example, in the section of his complaint entitled, “REQUEST FOR RELIEF,” the Plaintiff twice refers to the Defendant's
conduct as “malpractice.” Am. Compl. at 4.

19 — Although the Defendant does not appear to have construed the complaint to include this particular claim regarding
medications, it does argue that the complaint “fails to plead a medical malpractice claim under Virginia law because it
does not plead the requisite elements.” Dkt. 17 at 12. Because the Defendant contends that the complaint lacks any
medical malpractice claims, the Court finds it appropriate to note that it has identified this claim in the complaint and
explain why it is sufficiently plead.

20 To be sure, Plaintiff alleged during the administrative claim process that his VA health care providers “failed to record
the diagnosis” from April 2020 in his VA medical records and that his condition “was left untreated and it progressed to
stage 3 chronic kidney disease.” Dkt. 17 (Ex. 3 at 1). In Plaintiffs complaint, he alleges that Defendant did not record his
April 2020 AKI diagnosis and did not discuss it with him — but he does not clearly connect this conduct with an alleged
harm. He notes in the complaint that “[w]hen Acute Kidney Injury is left untreated it will become Chronic Kidney Disease,”
Am. Compl. | 13, yet he does not specifically allege in the complaint that Defendant's conduct following the acute kidney
injury diagnosis caused his development of chronic kidney disease.

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